Civil Action No. 1:22-cv-890

DORETHA B. PERKINS,

 

Pro Se Plaintiff,
v.

Dr. Miguel Cardona, Secretary of the
U.S. Department of Education,

Defendant,
and
Pennsylvania Higher

Education Assistance
Agency,

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Defendant

PLAINTIFF’S RENEWED REQUEST FOR ENTRY OF DEFAULT
Pursuant to Fed. R. Civ. P. 55, Plaintiff Doretha B. Perkins, pro se (hereinafter “Plaintiff’) hereby
further requests that the Clerk of Court enter default against Defendant Dr. Miguel Cardona,
Secretary of the U.S. Department of Education (“the Education Department”) for failure to Answer
the Complaint or otherwise defend the above-titled cause of action by the November 18, 2022

deadline.

In support of this Renewed Request, Plaintiff states as follows:
1. A Request for Entry of Default was filed on December 20, 2022 (Dkt. No. 12) in which
the Plaintiff stated that Defendant Dr. Miguel Cardona, Secretary of the U.S,

Department of Education, had failed to respond to the Complaint filed September 12,

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2022 (Dkt. No. 3). Plaintiffs Request for Entry of Default is incorporated herein by
reference along with the Attachment A — Declaration of Doretha B. Perkins, pro se

(Dkt. No. 12(2)).

The Request for Entry of Default filed on December 20, 2022 was DENIED by the
court on December 28, 2022 (Dkt. No, 13). The court found that the Plaintiff failed to
serve the United States Attorney for the Middle District of North Carolina pursuant to

Rule 4(i) of the Federal Rules of Civil Procedure.

In response to the court’s Denial of Plaintiff's Request for Entry of Default, the Plaintiff

hereby submits this Renewed Request for Entry of Default.

The Plaintiff hereby submits proof of service on the United States Attorney for the
Middle District of North Carolina, who has now been served via Certified Mail on
January 9, 2023 at 11:48 am (see Exhibit A of attached Supplemental Declaration of
Doretha B. Perkins). Thereafter, the green U.S. Certified Mail card was delivered to
the Plaintiff by the U.S. Postal Service on January 11, 2023 at 3:17 pm (see Exhibit A
of attached Supplemental Declaration of Doretha B. Perkins). The Plaintiff thus
requests reconsideration of Plaintiff's Request for Entry of Default on the basis of
having now served the United States Attorney for the Middle District of North Carolina
pursuant to Rule 4) of the Federal Rules of Civil Procedure (see attached

Supplemental Declaration of Doretha B. Perkins, pro se).

To date, the Education Department has still not served an Answer to the Complaint,

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which was due by November 18, 2022.

6. No notice of an attorney’s appearance has been filed on behalf of the Education

Department. —

7. An entry of default pursuant to Fed. R. Civ. P. 55(a) is appropriate “[w]hen a party
against whom a judgment or affirmative relief is sought has failed to plead or otherwise
defend as provided by these rules and that fact is made to appear by affidavit or

otherwise.” Fed. R. Civ. P. 55(a).

The Education Department’s failure to Answer the Complaint deprives the Plaintiff of any other

means of vindicating her claims and the Plaintiff would be prejudiced if default is not entered.

WHEREFORE, the Plaintiff respectfully requests that the Clerk of Court enter a default against

the Education Department as provided in Rule 55(a) of the Federal Rules of Civil Procedure.

Respectfully submitted this 13th day of January, 2023.

Briteo—BAZ LE

Doretha B. Perkins, pro se
623 Southpoint Crossing Drive
Durham, North Carolina 27713

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CERTIFICATE OF SERVICE
I hereby certify that on January 13, 2023, the foregoing Plaintiff's Renewed Request for Entry of
Default was sent by depositing the same in the United States Mail addressed to the United States
District Court; Defendant Dr. Miguel Cardona, Secretary of the U.S. Department of Education;
and counsel for Defendant Pennsylvania Higher Education Assistance Agency as follows:

Clerk of Court

United States District Court
Middle District of North Carolina
324 West Market Street, Room 401
Greensboro, North Carolina 27401

Dr. Miguel Cardona, Secretary of Education
U.S. Department of Education

400 Maryland Avenue, SW

Washington, DC 20202

D. Kyle Deak

Troutman Pepper Hamilton Sanders LLP
305 Church at North Hills Street, Suite 1200
Raleigh, NC 27609

Dpto L—

Doretha B. Perkins, Pro Se
623 Southpoint Crossing Drive
Durham, North Carolina 27713

 

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